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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   NETFLIX, INC., a Delaware corporation,                    No. C 06-02361 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                      ORDER RE JOINT STIPULATION
                                                                         13                                                             OF DISMISSAL WITH
                                                                              BLOCKBUSTER,INC., a Delaware                              PREJUDICE
                                                                         14   corporation,

                                                                         15                  Defendant.
                                                                                                                              /
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                                                                         17          The Court has signed a modified stipulation of dismissal with prejudice. The Court will

                                                                         18   not acquiesce in the proviso that the Court should retain jurisdiction because the parties did not

                                                                         19   supply a copy of the settlement agreement to the Court and it has no way of forecasting the

                                                                         20   difficulties counsel have in mind. Even if the settlement agreement were provided, the Court

                                                                         21   might or might not be willing to be a future referee for disputes arising out of the settlement

                                                                         22   agreement. Finally, in light of the parallel consumer class action, the Court’s signing of this

                                                                         23   order should not be construed as judicial approval of the settlement agreement; rather, this order

                                                                         24   simply dismisses the action with prejudice at the request of the immediate parties.

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                                                                         26          IT IS SO ORDERED.

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                                                                         28   Dated: June 26, 2007.
                                                                                                                                  WILLIAM ALSUP
                                                                                                                                  UNITED STATES DISTRICT JUDGE
